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 4
     Attorney for Defendant
 5   RAYMOND DAVID SAENZ JR.
 6
 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,                               Case No.: 06-CR-0379-OWW
13                                     PLAINTIFF,            STIPULATION AND ORDER TO
                                                             CONTINUE STATUS
14   v.                                                      CONFERENCE AND MOTIONS
15   FERNANDO JESUS MANJARREZ,
     RAYMOND DAVID SAENZ JR.,
16   BRANDIE LYNN PIEDMONT,
17                                     DEFENDANTS
18   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE OLIVER
19   W. WANGER; AND VIRNA L. SANTOS, ASSISTANT UNITED STATES ATTORNEY:
20           COMES NOW Defendant, RAYMOND DAVID SAENZ JR., by and through his
21   attorney of record, DAVID A. TORRES hereby requesting that the status conference currently set
22   for 03/05/2007 be continued to 04/02/2007 at 9:00 a.m. or a date convenient to court and
23   counsel.
24           I am respectfully requesting a continuance of status conference and motions because I am
25   currently involved in a State jury trial for the matter of People v. Juan Rodriguez. Therefore, I
26   will not be available to proceed with the status conference and motions. I have been in contact
27   with Ms. Santos and she has no opposition to this request.
28           Based upon the foregoing, I respectfully request that the status conference and motions be
     Stipulation and Order to Continue Status Conference 1
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 1   continued to April 2, 2007.
 2           The parties also agree that the delay resulting from the continuance shall be excluded in
 3   the interest of justice pursuant to 18 U.S.C. §3161 (H)(8)(A).
 4   Dated: 03/01/2007
 5                                                           /s/ David A. Torres
                                                             DAVID A. TORRES
 6                                                           Attorney for RAYMOND DAVID SAENZ
 7
                                                             /S/Erik K. Fogderude
 8                                                           ERIK K. FOGDERUDE
                                                             Attorney for
 9                                                           FERNANDO JESUS MANJARREZ
10
                                                             /S/John Frederick Garland
11                                                           JOHN FREDERICK GARLAND
                                                             Attorney for
12                                                           BRANDIE LYNN PIEDMONT
13
14                                                           McGREGOR W. SCOTT
                                                             United States Attorney
15
16   Dated: 03/01/2007                                       By /s/ Virna L. Santos
                                                             VIRNA L. SANTOS
17                                                           Assistant U.S. Attorney
18
                                                      ORDER
19
             IT IS SO ORDERED. Time is excluded in the interest of justice pursuant to 18 U.S.C.
20
     §3161(h)(8)(A).
21
     IT IS SO ORDERED.
22
     Dated: March 6, 2007                                   /s/ Oliver W. Wanger
23   emm0d6                                            UNITED STATES DISTRICT JUDGE
24
25
26
27
28
     Stipulation and Order to Continue Status Conference 2
